In Banc.
The defendants have appealed from a judgment of conviction of the crime of unlawful possession of intoxicating liquor, on the ground that the constitutional guaranty that "no person shall be put in jeopardy twice for the same offense, nor be compelled in any criminal prosecution to testify against himself," has been violated, and on the further and chief ground that section 20 of chapter 141, General Laws of Oregon, 1915, (codified as Oregon Code 1930, § 15-136), *Page 10 
the act under which the search warrant was issued, is unconstitutional, in that it is in violation of article 1, section 9 of the Oregon Constitution, prohibiting unreasonable search and seizure.
On September 12, 1930, S.C. Linville, a prohibition agent, swore to and filed an information with Norborne Berkeley, justice of the peace for Pendleton district, Umatilla county, in words and figures as follows:
     "IN THE JUSTICE COURT FOR PENDLETON DISTRICT, UMATILLA COUNTY, OREGON.
"STATE OF OREGON,          | v.      Plaintiff,  |      INFORMATION "HARRIETT FLYNN,           | Defendant.  |
"State of Oregon,   |   ss. "County of Umatilla |
"I, S.C. Linville, being first duly sworn, do on my oath accuse the above-named defendant, Harriet Flynn, of the crime of unlawful keeping and maintaining a place as a common nuisance, committed as follows:
"The said defendant, Harriet Flynn, in the county of Umatilla, state of Oregon, on the 12th day of September, A.D. 1930, then and there being, did then and there unlawfully and wilfully keep and maintain as a common nuisance that certain place known and described as the Rex Rooms, known and described as 115 West Webb street, city of Pendleton, county and state aforesaid, by then and there at said place keeping for sale, barter, and delivery in violation of law, certain intoxicating liquors, to wit, whiskey, and by then and there keeping and using in said place certain liquors, bottles, glasses, kegs, pumps, bars, and other vessels containing intoxicating liquors and other property for the purpose of keeping and maintaining said *Page 11 
place above described as a common nuisance, contrary to the statutes in such cases made and provided against the peace and dignity of the state of Oregon.
"S.C. Linville.
"Subscribed and sworn to before me this 12th day of September, A.D. 1930.
                                      "Norborne Berkeley, "Justice of the Peace."
Based upon the information, the district attorney of Umatilla county filed a motion for the issuance of a search warrant for the purpose of searching the premises occupied by the defendants for intoxicating liquors. Predicated upon the allegations of fact contained in the information, the justice of the peace for Pendleton district issued to the then sheriff of Umatilla county a search warrant, which reads as follows:
     "IN THE JUSTICE COURT FOR PENDLETON DISTRICT, UMATILLA COUNTY, STATE OF OREGON.
"THE STATE OF OREGON,      | v.      Plaintiff,  |  WARRANT FOR SEARCH,     SEIZURE AND ARREST. "HARRIETT FLYNN,           | Defendant.  |
"In the name of the State of Oregon
"To the Sheriff of Umatilla County, Oregon, or any peace officer, greeting:
"Whereas an information, on oath, having been this day laid before me charging that a place, to wit, known and described as the Rex Rooms known and described as 115 West Webb street, city of Pendleton, county and state aforesaid in the county of Umatilla, state of Oregon, was and is being kept and maintained as a common nuisance by Harriet Flynn, the defendant above named, and that intoxicating liquors, bottles, glasses, pumps, bars, funnels, kegs, and other property were and are kept and used therein in keeping and *Page 12 
maintaining said place above described as a common nuisance, you are therefore commanded, at any time in the day or night, to make immediate search of the above described premises for the following described property, to wit, whisky and other intoxicating liquors, bottles, glasses, pumps, bars, kegs, funnels, siphon hose, labels, corks, caps, cappers, and if you find the same, or any part thereof, to seize the same and the vessels containing said intoxicating liquors and other property kept and used in said place in keeping and maintaining said place as a common nuisance, and bring it forthwith to me at my office, and to securely keep the same until final action be had thereon, and you are hereby further commanded forthwith to arrest the above-named Harriet Flynn and bring her before me at my office in said county, or in case of my absence or inability to act, before the nearest or most accessible magistrate in this county.
"Dated this 12th day of September, A.D. 1930.
                                  "Norborne Berkeley, "Justice of the above-entitled court."
Armed with the search warrant, the sheriff, with deputies, state agents and one federal agent, searched the Rex Rooms and seized and carried away about a gallon of whisky, a pitcher, some empty pint flasks, whisky glasses, one siphon hose, corks, two funnels, and two empty one-gallon containers, and arrested two persons alleged to have been hired help of "the keeper of said liquors." He then made due return of the execution of the warrant, which return and inventory reads:
                          "RETURN AND INVENTORY
"State of Oregon,  |  ss. "Umatilla County   |
"I hereby certify that I received the within warrant on the 12th day of September, A.D., 1930, and that I executed the same on the 12th day of September, *Page 13 13 A.D., 1930, by entering upon the premises described therein and making diligent search for the property described therein, and I found upon said premises the following described property, to wit: Almost one gallon of whisky, a pitcher and two whisky glasses, one towel, fourteen empty pint flasks, one slop jar with ladle, one siphon hose, corks, two empty one-gallon containers, two funnels found under circumstances warranting the belief that the same were kept and used in violation of law, and I now have the same in keeping before the court to await final action thereon, and I, pursuant to the within order, arrested Ed Sloan and Ruth Allen, hired help of the keeper of said liquors to be apprehended.
                                 "Tom B. Gurdane, "Sheriff of Umatilla County, Oregon, "By Tom B. Gurdane."
The defendants were indicted by the grand jury of Umatilla county, charged with the unlawful possession of intoxicating liquor. Subsequent to their indictment and prior to trial, they filed a petition in the circuit court of Umatilla county, demanding that the liquors and other articles seized and taken from the Rex Rooms by virtue of the search warrant hereinbefore described be suppressed as evidence, upon the ground that the search and seizure was in violation of their constitutional rights "as guaranteed to them under the Constitution of the state of Oregon, and the laws of the state of Oregon covering searches and seizures." The petition was denied, and this denial constitutes the chief ground of appeal.
Chapter 141, General Laws of Oregon, 1915, is entitled:
"An act relating to intoxicating liquors; prohibiting the manufacture and sale thereof * * *; declaring certain places and things to be nuisances and *Page 14 
providing for their abatement and injunction * * *; and providing for search of premises and seizure and destruction of liquor * * *."
Section 20 thereof, the section assailed by the defendants, reads:
"Upon the filing of a complaint, information or indictment charging that a place is kept or maintained as a common nuisance by any person or persons, and that intoxicating liquors, bottles, glasses, kegs, pumps, bars or other property are kept or used therein in keeping and maintaining such place as a common nuisance, a warrant shall be issued commanding the officer to whom it is directed to arrest the person or persons charged or described as the keeper or keepers, and to search the place described in such complaint, information or indictment, and to seize and take into his custody all intoxicating liquors, glasses, bottles, kegs, pumps, bars or other property described in said complaint or information which he may find at such place, and safely keep the same subject to the orders of the court. The complaint or information shall be supported by oath or affirmation and shall describe the place to be searched with sufficient particularity to identify the same, and shall describe the intoxicating liquors, or other property alleged to be used in maintaining the same, as particularly as practicable, but any description, however general, that will enable the officer executing the warrant to identify the property to be seized, shall be deemed sufficient. Upon the return of the warant, the court shall proceed as in other cases against the person or persons arrested."
The defendants assert that this section has deprived the magistrate issuing the search warrant of his right to determine probable cause. The finding of probable cause to issue a search warrant is a judicial function. There are numerous cases in our own and other jurisdictions that hold that an act passed by the legislative assembly that attempts to deprive the magistrate of *Page 15 
the right to determine probable cause is unconstitutional. We concur in this holding. The people of the state of Oregon, to the end and that justice be established, ordained that "no law shall violate the right of the people to be secure in their persons, houses, papers and effects, against unreasonable search or seizure; and no warrant shall issue but upon probable cause, supported by oath or affirmation, and particularly describing the place to be searched, and the person or thing to be seized": Or. Const., Art. 1, § 9.
Section 13-2501, Oregon Code 1930, provides:
"A magistrate authorized to issue a warrant of arrest has authority to issue a search warrant, directed to a peace officer, commanding him to search for personal property at any place within his county, and bring it before the magistrate."
As to the grounds upon which a search warrant may issue, section 13-2502 reads, in part:
"A search warrant may be issued * * *:
                                *      *      *      *      *
"3. When the property is in the possession of any person, with the intent to use it as the means of committing a crime * * *."
With respect to the manner in which probable cause should be shown, section 13-2503 provides:
"A search warrant cannot be issued but upon probable cause, shown by affidavit, naming or describing the person, and describing the property and the place to be searched."
See State v. Quartier, 114 Or. 657 (236 P. 746); State v.McDaniel, 115 Or. 187 (231 P. 965, 237 P. 373); State v.Harris, 119 Or. 422 (249 P. 1046).
Section 13-2504 provides for the examination of the complainant and his witnesses, if any, before the search warrant issues. *Page 16 
Section 13-2505 provides that if the magistrate finds that there is probable cause "he must issue the warrant," and sets out, in substance, the form thereof.
Section 13-2507 relates to the power of the officer in executing a search warrant. Section 13-2508 provides for the giving of a receipt for the property taken. The next nine sections relate to the procedure to be followed in the execution of a search warrant and the return thereof, and section 13-2518 provides for the destruction of any property taken on a search warrant, when the manufacture, sale, or use thereof is prohibited by the laws of Oregon. None of these sections have been repealed.
In 1 Cooley's Constitutional Limitations (8th Ed.), at pp. 376, 377, it is written:
"As a conflict between the statute and the Constitution is not to be implied, it would seem to follow, where the meaning of the Constitution is clear, that the court, if possible, must give the statute such a construction as will enable it to have effect. This is only saying, in another form of words, that the court must construe the statute in accordance with the legislative intent. * * *
"The rule upon this subject is thus stated by the Supreme Court of Illinois:
"`Whenever an act of the legislature can be so construed and applied as to avoid conflict with the Constitution and give it the force of law, such construction will be adopted by the courts * * *.'
"And it is said by Harris, J., delivering the opinion of the majority of the Court of Appeals of New York (See People v.Supervisors of Orange, 17 N.Y. 235, 241):
"`A legislative act is not to be declared void upon a mere conflict of interpretation between the legislative and the judicial power. Before proceeding to *Page 17 
annul, by judicial sentence, what has been enacted by the law-making power, it should clearly appear that the act cannot be supported by any reasonable intendment or allowable presumption.'"
For more than sixty years there has been upon the statute books of this state a general law providing the procedure for the issuance of search warrants and the proceedings thereon. It yet remains unchanged. One of its essential provisions is the emphatic direction to the officers that no search warrant shall issue except upon probable cause, shown by affidavit, naming the person and describing the property and the place to be searched. But, when the magistrate is satisfied, by competent evidence, that there is probable cause to believe that there are grounds for the application, he must issue the warrant. It was never the intention of the legislature to repeal any part of our search and seizure statute by the enactment of section 20, chapter 141, General Laws of Oregon, 1915. Section 20, assailed by the defendants, does not, within itself, form a complete code for search and seizure. That it was not intended to be regarded as complete in itself is evidenced by the last sentence thereof, which provides: "Upon the return of the warrant, the court shall proceed as in other cases against the person or persons arrested." There is no provision of chapter 141, General Laws of Oregon, 1915, that is inconsistent with the search and seizure statute hereinbefore referred to. It is taught by 2 Lewis' Sutherland Statutory Construction (2d Ed.), pp. 845, 846, that:
"Statutes which are not inconsistent with one another, and which relate to the same subject-matter, are in pari materia, and should be construed together; and effect should be given to them all, although they contain no reference to one another, and were passed *Page 18 
at different times. Acts in pari materia should be construed together and so as to harmonize and give effect to their various provisions."
The same doctrine is announced in Black on Interpretation of Laws (2d Ed.), at section 104. In his discussion of the rule, the author says:
"The reasons which support this rule are twofold. In the first place, all the enactments of the same legislature on the same general subject-matter are to be regarded as parts of one uniform system. Later statutes are considered as supplementary or complementary to the earlier enactments."
And from 25 R.C.L., § 290, "Statutes," we carve the following:
"Penal statutes are within the operation of the general rule * * *. Statutes in relation to the same offense must be taken together and construed as if the matters to which they relate were embraced in a single statute."
So, in view of the doctrine just announced, it is plain that the section complained of must be construed in connection with our search and seizure statute.
The defendants assert that section 20 is unconstitutional because it does not permit the magistrate issuing the warrant to determine probable cause. Among other things, section 20 provides that, when a complaint, or information, or indictment charges that a place is maintained as a common nuisance by any person, and that intoxicating liquors, bottles, glasses, et cetera, are used therein in the maintenance of such place as a common nuisance, "a warrant shall be issued." This section, when construed in connection with our search and seizure law, vests in the magistrate the duty to determine probable cause in accordance with the requirements of the Constitution, before issuing a search warrant. *Page 19 
The defendants further assert that the use of the word "shall" in section 20 constitutes an imperative requirement that the officer issue the search warrant regardless of his belief concerning probable cause. We answer that contention by saying that "shall," as used in this particular section, is permissive, and not mandatory. Used in its ordinary sense, it is an imperative term. But, as stated in 2 Lewis' Sutherland Statutory Construction (2d Ed.), at page 1155:
"The intent of the act controls, and when the spirit and purpose of the act require the word `shall' to be construed as permissive, it will be done."
With relation to the use of "shall" in statutes as permissive or mandatory, we note also the following from 6 Words  Phrases (3d Series), at page 1072:
"In the construction of a statute the word `shall' will be construed as `may' when necessary to sustain its constitutionality, if the intention of the legislature as disclosed by the language of the statute will be thereby accomplished: Reed v. Wellman, 110 Neb. 166 (193 N.W. 261, 262)."
See, also, the holding of this court in State v. Hecker,109 Or. 520 (221 P. 808).
The defendants cite numerous authorities holding insufficient for the issuance of search warrants affidavits based upon information and belief only, or affidavits alleging conclusions and not evidentiary facts. In the instant case, the information alleges the existence of a nuisance. It further relates evidentiary facts that establish the existence of the nuisance and the identity of the keeper thereof. For definition of "evidentiary fact" and "conclusions of fact," see Maeder SteelProducts Co. v. Zanello, 109 Or. 562 (220 P. 155), and the authorities therein cited. *Page 20 
Measured by legal requirements, the verified information on file herein is sufficient as a basis for the issuance of a search warrant. It states as facts certain matters which, if wilfully false, constitute perjury. Furthermore, its statement of fact charges the commission of a crime, while the law requires but probable cause, established by the oath or affirmation of the affiant. The writer can conceive of no sound reason for holding that greater strictness is required in an affidavit for the issuance of a search warrant than for issuance of a warrant charging the commission of a crime.
The determination that the search and seizure was valid removes the defendants' objection to the admissibility as evidence of the articles seized in accordance with the direction of the warrant.
This cause should be affirmed. It is so ordered.
BEAN, C.J., concurs in the result.
RAND, J., dissents.
ROSSMAN and KELLY, JJ., did not participate in the hearing or decision of this case.